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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                              GAINESVILLE DIVISION


 JERZON PEREZ-BARRIOS, et al.,
                      Plaintiffs,                     CIVIL ACTION FILE
 vs.                                                  NO. 2:19-CV-0049-RWS
 JS MAID CLEANING SERVICES, LLC, et
 al.,
                      Defendants.


                                     JUDGMENT

       This action having come before the Court, Honorable Richard W. Story, United
States District Judge, for consideration of Plaintiffs' Motion for Attorneys' Fees, and the
Court having granted said motion, it is
       Ordered and adjudged that Plaintiffs are awarded attorneys' fees in the amount
of $53,867.47 and costs of $2,583.70 against Defendants.
       Dated at Gainesville, Georgia this 23rd day of December, 2021.

                                                 KEVIN P. WEIMER
                                                 CLERK OF COURT



                                            By: s/ D. McGoldrick
                                                Deputy Clerk
Prepared, filed, and entered
in the Clerk's Office
December 23, 2021
Kevin P. Weimer
Clerk of Court


By:    s/ D. McGoldrick
       Deputy Clerk
